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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 19-00050-CJC

13             Plaintiff,                     GOVERNMENT’S TRIAL MEMORANDUM

14                   v.                       Trial Date:     March 13, 2019
                                              Time:           8:30 a.m.
15   ADAU AKUI ATEM MORNYANG,                 Location:       Courtroom of the
                                                              Hon. Cormac J.
16             Defendant.                                     Carney

17

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney MiRi Song, hereby
22   submits to the Court the government’s Trial Memorandum.
23   //
24   //
25   //
26   //
27   //
28   //
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1         The government respectfully requests leave to file additional

2    memoranda as may become appropriate before or during the course of

3    trial.

4    Dated: March 8, 2019                 Respectfully submitted,

5                                         NICOLA T. HANNA
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9                                             /s/
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1                                   TRIAL MEMORANDUM
2    I.    INTRODUCTION
3          Defendant ADAU AKUI ATEM MORNYANG (“defendant”) will soon stand

4    trial for interference with flight crew members and attendants and

5    assault by striking, beating, or wounding.         To prove these charges,

6    the government intends to present testimony from three witness,

7    including the two victims the defendant assaulted as well as a

8    witness to one of the assaults.

9    II.   STATUS OF THE CASE
10         A.   Indictment
11         On January 29, 2019, the grand jury returned a three-count

12   indictment charging defendant with one count of interference with

13   flight crew members and attendants, in violation of 49 U.S.C. §

14   46504, and two counts of assault by striking, beating, or wounding,

15   in violation of 18 U.S.C. § 113(a)(4) and 49 U.S.C. § 46506.

16         B.   Discovery
17         The government has produced approximately 296 pages of discovery

18   to defense counsel, including incident reports, photographs, and

19   audio recordings.     While the government has requested reciprocal

20   discovery, to date, defense counsel has not produced any.

21         C.   Trial
22         Trial Date:    A jury trial is currently scheduled for March 13,

23   2019, at 8:30 a.m., before the Honorable Cormac J. Carney, United

24   States District Judge.

25         Estimated time:    The estimated time for the government’s case-

26   in-chief is one day.     The government anticipates calling three

27   witnesses in its case-in-chief: (1) Federal Air Marshal (“FAM”)

28   Jeffrey Bolanowski (referred to in the indictment as “J.B”); (2)
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1    Romeo Gutierrez (referred to in the indictment as “R.G.”); and (3)

2    FAM Jason Jay.    The government anticipates seeking to admit

3    approximately two exhibits in its case-in-chief.

4         Defendant:    Defendant is released on bond pending trial.

5         D.    Pretrial Motions
6         The government filed a motion in limine that seeks to preclude

7    the following based on lack of relevance, unfair prejudice, and

8    hearsay:

9         1.    Statements, arguments, or introduction of evidence about

10   any prior sexual assault, status as a refugee, depression, and any

11   post-traumatic stress disorder, including, but not limited to, any

12   testimony and/or reports by defense witness, Dr. Juliette Boewe;

13        2.    Statements, arguments, or introduction of evidence

14   concerning any defenses of which defendant was obligated to timely

15   inform the government, including a defense premised on diminished

16   capacity, self-defense, or intoxication;

17        3.    Defendant’s prior out-of-court statements; and

18        4.    Statements, arguments, or introduction of evidence that are

19   designed to invoke the sympathy of the jury.

20        E.    Jury Instructions
21        The parties intend to file joint proposed substantive jury

22   instructions by March 8, 2019.

23   III. THE CHARGED OFFENSE
24        A.    Governing Statutes
25        Title 49, United States Code, Section 46504 provides, in

26   pertinent part, that “[a]n individual on an aircraft in the special

27   aircraft jurisdiction of the United States who, by assaulting or

28   intimidating a flight crew member or flight attendant of the

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1    aircraft, interferes with the performance of the duties of the member

2    or attendant or lessens the ability of the member or attendant to

3    perform those duties, or attempts or conspires to do such an act,

4    shall be fined under title 18, imprisoned for not more than 20 years,

5    or both.”

6         Title 18, United States Code, Section 113(a)(4) provides, in

7    pertinent part, that “[w]hoever, within the special maritime

8    jurisdiction of the United States, is guilty of an assault shall be

9    punished as follows: . . . (4) Assault by striking, beating or

10   wounding, by a fine under this title or imprisonment for not more

11   than 1 year, or both.”

12        B.     Elements of Violation of 49 U.S.C. § 46504
13        The elements of a violation of 49 U.S.C. § 46504, as charged in

14   Count One, are:

15        First, the defendant was an individual on an aircraft in the

16   special aircraft jurisdiction of the United States;

17        Second, the defendant assaulted or intimidated a flight crew

18   member or flight attendant of the aircraft; and

19        Third, by assaulting or intimidating a flight crew member or

20   flight attendant of the aircraft, defendant interfered with the

21   performance of the duties of the member or attendant or lessened the

22   ability of the member or attendant to perform those duties.

23   49 U.S.C. § 46504.

24        C.     Elements of Violation of 18 U.S.C. § 113(a)(4)
25        The elements of a violation of 18 U.S.C. § 113(a)(4), as charged

26   in Counts Two and Three, are:

27        First, the defendant assaulted R.G./J.B. by striking, beating,

28   or wounding him;

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1          Second, this forcible action involved actual physical contact

2    with R.G./J.B.; and

3          Third, the assault took place on an aircraft in the special

4    aircraft jurisdiction of the United States.

5    18 U.S.C. § 113(a)(4); 49 U.S.C. § 46506; see also Ninth Circuit

6    Model Criminal Jury Instruction No. 8.9 [Assault Resulting in Serious

7    Bodily Injury] (2010 ed.).

8          D.    Special Aircraft Jurisdiction
9          “Special aircraft jurisdiction of the United States” includes an

10   aircraft outside the United States that has its next scheduled

11   destination or last place of departure in the United States, if the

12   aircraft next lands in the United States.         See 49 U.S.C. § 46501(2).

13         E.    Aircraft in Flight
14         An “aircraft in flight” includes an aircraft from the moment all

15   external doors are closed following boarding through the moment when

16   one external door is opened to allow passengers to leave the

17   aircraft.    See § 49 U.S.C. § 46501(1)

18   IV.   STATEMENT OF FACTS
19         The government expects that the evidence at trial will

20   establish the following facts, among others:

21         On January 21, 2019, defendant appeared intoxicated and was

22   verbally and physically abusive to personnel and other passengers

23   aboard a United Airline flight from Melbourne, Australia to Los

24   Angeles, California.     Several hours into the flight, passengers

25   approached flight attendant Romeo Gutierrez to complain about

26   defendant’s disruptive behavior, which included yelling obscenities

27   and racial slurs and flailing her arms.        When Mr. Gutierrez

28   approached defendant to assess the situation, she began to shout at

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1    him and slapped him across his face.        When she continued to be

2    aggressive toward him, he tried to hold down her arms until federal

3    air marshals on board could assist.

4         Federal air marshals stayed with defendant at the rear galley of

5    the plane, where the flight attendants prepared for services,

6    throughout the remainder of the trip.        When defendant was allowed to

7    use the bathroom at one point, she remained there for several minutes

8    until she had to be carried out.       During this time, she struggled

9    with the federal air marshals and kicked federal air marshal Jeffrey

10   Bolanowski in the chest.      Defendant continued to yell racial slurs

11   and obscenities for the remaining five hours or so of the flight.

12   V.   LEGAL AND EVIDENTIARY ISSUES
13        A.    Lay Opinions of Law Enforcement Witnesses
14        The three witnesses the government intends to call may testify

15   about the defendant’s appearance and conduct on January 21, 2019,

16   including their opinion and impression of what they observed.

17   Federal Rule of Evidence 701 “permits a lay witness to give opinion

18   testimony as long as the opinion is (a) rationally based on the

19   perception of the witness and (b) helpful to a clear understanding of

20   the witness’s testimony or the determination of a fact in issue.”

21   United States v. Pino-Noriega, 189 F.3d 1089, 1097 (9th Cir. 1999)

22   (quotation marks omitted).      Under Ninth Circuit law, opinion

23   testimony by law enforcement officers is admissible and not

24   necessarily expert testimony within the meaning of Rule 16(a)(1)(G).

25   See United States v. VonWillie, 59 F.3d 922, 929 (9th Cir. 1995).              As

26   the Ninth Circuit has explained, law enforcement officers’ opinion

27   testimony:

28

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1                [I]s a means of conveying to the jury what the
                 witness has seen or heard. . . . Because it is
2                sometimes difficult to describe the mental or
                 physical condition of a person, his character or
3
                 reputation, the emotions manifest by his acts;
4                speed of a moving object or other things that arise
                 in a day to day observation of lay witnesses; things
5                that are of common occurrence and observation, such
                 as size, heights, odors, flavors, color, heat, and
6                so on; witnesses may relate their opinions or
                 conclusions of what they observed.
7

8    United States v. Skeet, 665 F.2d 983, 985 (9th Cir. 1982); see also

9    United States v. Gadson, 763 F.3d 1189, 1209 (9th Cir. 2014) (“[A]n

10   investigator who has accumulated months or even years of experience

11   with the events, places, and individuals involved in an investigation

12   necessarily draws on that knowledge when testifying; indeed, it is

13   those out-of-court experiences that make the witness's testimony

14   helpful to the jury.”).      The opinion testimony of the FAMs who were

15   involved in the altercation on January 21, 2019, will be helpful to

16   the jury, and their opinions do not require expert knowledge.            See

17   e.g., United States v. Nelson, 285 F. App'x 491, 493–94 (9th Cir.

18   2008) (“The officers were in the unique position of observing both

19   the manner in which the vehicle was driven prior to the stop and the

20   precise location and position in which the gun was discovered, and

21   their opinions did not require scientific, technical or other

22   specialized knowledge.”).

23        B.     Photographic Evidence

24        The government intends to introduce into evidence a photograph

25   or layout of the airplane.      Such evidence should be admitted so long

26   as it fairly and accurately represents the event or object in

27   question.    United States v. Oaxaca, 569 F.2d 518, 525 (9th Cir.

28   1978).

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1         C.    Audio Recordings
2         The government intends to introduce into evidence clips of audio

3    recordings of the defendant’s statements while on the aircraft on

4    January 21, 2019.     The foundation that must be laid for the

5    introduction into evidence of such recordings is a matter largely

6    within the discretion of the trial court.         There is no rigid set of

7    foundational requirements.      The Ninth Circuit held that recordings

8               are sufficiently authenticated under Fed. R. Evid.
                901(a) if “sufficient proof has been introduced so
9               that a reasonable juror could find in favor of
                authenticity or identification.” [Citing cases.]
10              This is done by proving a connection between the
                evidence and the party against whom the evidence is
11              admitted, and can be done by both direct and
                circumstantial evidence.
12

13   United States v. Matta-Ballesteros, 71 F.3d 754, 768 (9th Cir. 1995),

14   modified, 98 F.3d 1100 (9th Cir. 1996).        Indeed, Fed. R. Evid. 901

15   requires only that the United States make “a prima facie showing of

16   authenticity so that a reasonable juror could find in favor of

17   authenticity or identification,” and the “probative force of the

18   evidence offered is, ultimately, an issue for the jury.”           United

19   States v. Blackwood, 878 F.2d 1200, 1202 (9th Cir. 1989).

20        The government will call FAM Jason Jay to authenticate the

21   recordings as thehey observed the event that was recorded and can

22   confirm the recording’s accuracy.       See Fed. R. Evid. Rule 901(b) (a

23   party may authenticate evidence through “[t]estimony [of a witness

24   with knowledge] that a matter is what it is claimed to be”).            This

25   type of testimony is routinely offered during trial to lay the

26   foundation for the authenticity and admissibility of such recordings.

27   This foundational testimony is “sufficient proof” under Rule 901 for

28   a reasonable juror to “find in favor” of authenticity or

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1    identification because it provides the jury with the facts necessary

2    to determine how the recordings were made, how the recordings are

3    stored and protected, and whether the recordings portray what the

4    government purports they represent.

5          D.    Defendant’s Statements
6          Rule 801(c) of the Federal Rules of Evidence defines “hearsay”

7    as “a statement, other than one made by the declarant while

8    testifying at the trial or hearing, offered in evidence to prove the

9    truth of the matter asserted.”       Fed. R. Evid. 801(c).      Statements by

10   a party opponent are admissible non-hearsay, as are statements which

11   are not being admitted for the truth of the matter asserted but

12   rather to show the effect on the person who heard the statement.

13   Fed. R. Evid. 801(c), 801(d)(2)(A); see also United States v.

14   Valerio, 441 F.3d 837, 844 (9th Cir. 2006) (informant’s statements on

15   a recording are admissible to give context to defendant’s

16   statements).    Defendant’s statements are not hearsay, because she is

17   a party opponent.     The government reserves the right to use

18   defendant’s inculpatory statements for impeachment purposes if she

19   chooses to take the stand.

20         E.    Scope of Cross-Examination of the Defendant
21         If the defendant testifies at trial, she waives her right

22   against self-incrimination, and the government will cross-examine her

23   on all matters reasonably related to the subject matter of her

24   testimony.    See, e.g., Fitzpatrick v. United States, 178 U.S. 304

25   (1971) (“The defendant cannot assert a self-incrimination privilege

26   ‘on matters reasonably related to the subject matter of his cross-

27   examination.’”); United States v. Black, 767 F.2d 1334, 1341 (9th

28   Cir. 1985) (“What the defendant actually discusses on direct does not

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1    determine the extent of permissible cross-examination . . . the

2    inquiry is whether ‘the government’s questions are reasonably

3    related’ to the subjects covered by the defendant’s testimony.”

4    (internal quotations and citation omitted)).

5          The scope of cross-examination is within the discretion of the

6    trial court.    Fed. R. Evid. 611(b).       The defendant has no right to

7    avoid cross-examination on matters that call into question her claim

8    of innocence.    United States v. Mehrmanesh, 682 F.2d 1303, 1310 (9th

9    Cir. 1982); United States v. Miranda-Uriarte, 649 F.2d 1345, 1353-54

10   (9th Cir. 1981).     The government, however, may introduce evidence

11   should defendant “open the door.”

12         The government does not seek to admit evidence concerning

13   defendant’s character in its case-in-chief.          Should defendant

14   testify, however, the government may use other-acts evidence to

15   impeach defendant and/or attack her character for truthfulness.

16         F.    The Defendant Should Be Precluded from Affirmatively
                 Entering Any Evidence Not Produced
17

18         The government made a request for reciprocal discovery to which

19   it was entitled under Rules 16(b) and 26.2 of the Federal Rules of

20   Criminal Procedure.     To the extent defendant may attempt to introduce

21   or use any evidence at trial that she has not produced to the

22   government, such documents should be excluded pursuant to the Court’s

23   order.     See Taylor v. Illinois, 484 U.S. 400, 415 (1988) (defendant’s

24   failure to comply with, or object to, government’s discovery request

25   before trial justified exclusion of unproduced evidence).

26         G.    Affirmative Defenses

27         Defendant has not given any notice of any intent to rely on any

28   defense of entrapment, mental incapacity, alibi, or any other

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1    affirmative defense, and provided late notice of intent to rely on

2    self-defense.      Therefore, to the extent defendant may attempt to rely

3    on such a defense, the government reserves the right to object and to

4    move to preclude such a defense.

5    VI.   CONCLUSION
6          The government respectfully requests permission to file

7    additional trial memoranda if necessary.

8

9     Dated: March 8, 2019                 Respectfully submitted,

10                                         NICOLA T. HANNA
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                                           LAWRENCE S. MIDDLETON
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